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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x
 SECURITIES AND EXCHANGE COMMISSION,
                                                                            Civ. No. 1:10-CV-513
                                                                            (NAM/RFT)
                                              Plaintiff,

                           - against -                                      AFFIRMATION

 MATTHEW JOHN RYAN and PRIME RATE AND
 RETURN, LLC, individually and doing business as
 AMERICAN INTEGRITY FINANCIAL CO.,

                                               Defendants.
----------------------------------------------------------------------- x


         A.J. Bosman, an attorney admitted to practice in the federal Northern District Court of the

State of New York, affirms under penalty of perjury as follows:

1.       I am the principal attorney of the Bosman Law Firm, LLC, attorneys for Bosman &

         Associates, PLLC, am not party to this action, and am familiar with pleadings and facts

         of this case.

2.       I make this affirmation in support of Bosman & Associate’s opposition to the September

         25, 2012 motion of Receiver Paul A. Levine, Esq.’s (“Receiver”) to the extent that the

         Receiver seeks an Order releasing and/or otherwise disbursing settlement proceeds in

         contravention of this Court’s October 20, 2010 Decision and Order.

3.       As set forth in the accompanying Affidavit of T. Padric Moore, Esq., the law firm of

         Bosman & Associates, PLLC secured a $50,000.00 settlement payment in NY State

         Court actions to or for the benefit of the defendants in the above captioned matter.

         Bosman & Associates, PLLC asserted charging liens against pending NY State court
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          actions involving Mr. Ryan, including a 50% claim on the $50,000.00 settlement

          proceeds mentioned in the Receiver’s motion.

4.        As set forth in the October 20, 2010 Decision and Order accompanying herewith, this

          Court adjudged that fifty percent of the Settlement Agreement proceeds are to be paid to

          the law firm of Bosman & Associates, PLLC in consideration of the charging liens

          recognized by the Court. (Decision and Order, p. 29).

5.        In accordance with the Court’s October 20, 2010 Decision and Order, the law firm of

          Bosman & Associates, PLLC, respectfully requests an Order directing the Receiver to

          pay the law firm of $25,000.00 from the Settlement Agreement proceeds, once received.

          WHEREFORE, it is respectfully requested that the requested relief be denied as set forth

herein.

Dated: Rome, New York
       October 29, 2012
                                                         THE BOSMAN LAW FIRM, LLC

                                                         s/A.J. Bosman


                                                                    A.J. Bosman, Esq.

                                                              6559 Martin Street
                                                              Rome, NY
                                                              (315) 336-9130


TO:       LEMERY GREISLER, LLC
          50 Beaver Street
          Albany, NY 12207

CC:       PREETHI KRISHNAMURTHY, ESQ.
          U.S. Securities & Exchange Commission
          3 World Financial Center
          New York, NY 10281

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 MATTHEW J. RYAN, pro se
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